                 Case 24-02892               Doc 1        Filed 02/29/24 Entered 02/29/24 11:17:04                         Desc Main
                                                            Document     Page 1 of 55
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________  District of _________________
     Northern District of Illinois       (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                             
                                                             ✔ Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Ernest
                                        __________________________________________________            Elle
                                                                                                     __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          A
                                        __________________________________________________            Marie
                                                                                                     __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Cozzi
                                        __________________________________________________            Cozzi
                                                                                                     __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Ernesto Cozzi
2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           7    4    9    9                                        4    6    8    6
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
                Case 24-02892                 Doc 1          Filed 02/29/24 Entered 02/29/24 11:17:04                               Desc Main
               Ernest A Cozzi & Elle Marie Cozzi
                                                               Document     Page 2 of 55
Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           10460 Ridgewood Dr.                                            _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Palos Park                           IL        60464
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Cook County                                                    _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I        
                                                                                                          ✔ Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                            
                                            ✔ Chapter 11


                                             Chapter 12
                                             Chapter 13

 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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             Ernest A Cozzi & Elle Marie Cozzi
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Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                  No. Go to Part 4.
    of any full- or part-time
    business?                                 
                                              ✔ Yes. Name and location of business
    A sole proprietorship is a                         Ernest Cozzi
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as                      1415 W. 22nd St. Tower #1
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it                       Oak Brook                                              IL           60523
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      
                                                      ✔ None of the above

                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                               No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                  
                                              ✔ No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                    
                                                                                                              ✔ I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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               Ernest A Cozzi & Elle Marie Cozzi
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ David Herzog                                                  Date          _________________
                                                                                                                                02/29/2024
                                                Signature of Attorney for Debtor                                               MM     /    DD / YYYY



                                                  David Herzog
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  David R Herzog
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 53 W. Jackson Blvd.
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite 1442
                                                _________________________________________________________________________________________________

                                                 Chicago                                                         IL             60604
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 3129771600
                                                              ______________________________         Email address
                                                                                                                      drh@dherzoglaw.com
                                                                                                                      _________________________________________



                                                 1203681                                                         IL
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1           Ernest A Cozzi
                   __________________________________________________________________
                     First Name                  Middle Name               Last Name

 Debtor 2            ________________________________________________________________
                     Elle Marie Cozzi
 (Spouse, if filing) First Name                  Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Illinois District of __________
                                                                                       (State)
 Case number         ___________________________________________
  (If known)
                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing


Official Form 104
For I ndividua l Cha pt e r 1 1 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
U nse c ure d Cla im s Aga inst Y ou a nd Are N ot I nside rs                              12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.


 Pa rt 1 :      List t he 2 0 U nse cure d Claim s in Orde r from La rge st t o Sm alle st . Do N ot I nc lude Cla im s by I nside rs.


                                                                                                                                         Unsecured claim

 1                                                             What is the nature of the claim? ____________________________
                                                                                                Taxes & Other Government Units           233,235.98
                                                                                                                                        $____________________________
      Illinois Department of Revenue
      __________________________________________
      Creditor’s Name                                          As of the date you file, the claim is: Check all that apply.
      Bankruptcy Unit
      __________________________________________
                                                               
                                                               ✔ Contingent
      Number            Street                                 
                                                               ✔ Unliquidated

      P.O. Box 19035
      __________________________________________
                                                               
                                                               ✔ Disputed
                                                                None of the above apply
      Springfield              IL     62794-9035
      __________________________________________
      City                               State     ZIP Code
                                                               Does the creditor have a lien on your property?

      __________________________________________
                                                               
                                                               ✔ No
      Contact                                                   Yes. Total claim (secured and unsecured):     $_____________________

      ____________________________________
                                                                       Value of security:                  - $_____________________
      Contact phone
                                                                       Unsecured claim                         $_____________________



 2                                                             What is the nature of the claim? Credit
                                                                                                ____________________________
                                                                                                       Card Debt
                                                                                                                                          44,457.63
                                                                                                                                        $____________________________
      Citi Cards
      __________________________________________
      Creditor’s Name                                          As of the date you file, the claim is: Check all that apply.
       Attn. Banruptcy Dept.
      __________________________________________                Contingent
      Number            Street                                  Unliquidated
      PO Box 6077
      __________________________________________                Disputed
                                                               
                                                               ✔ None of the above apply
      Sioux Falls             SD     57117-6077
      __________________________________________
      City                               State     ZIP Code
                                                               Does the creditor have a lien on your property?
                                                               
                                                               ✔ No
      __________________________________________
      Contact                                                   Yes. Total claim (secured and unsecured):     $_____________________

      ____________________________________
                                                                       Value of security:                  - $_____________________
      Contact phone
                                                                       Unsecured claim                         $_____________________




                                                                                                                                                       28
Official Form 104                 For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
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Debtor 1          Ernest A Cozzi
                 _______________________________________________________                                     Case number (if known)_____________________________________
                 First Name      Middle Name          Last Name


                                                                                                                                               Unsecured claim

 3 __________________________________________
   Internal Revenue Service                                       What is the nature of the claim? Taxes & Other Government Units
                                                                                                   ____________________________  35,225.44 $____________________________
     Creditor’s Name

     Centralized Insolvency Opearation
     __________________________________________                   As of the date you file, the claim is: Check all that apply.
     Number            Street                   
                                                ✔ Contingent
     P.O. Box 7346
     __________________________________________ 
                                                ✔ Unliquidated
                                                
                                                ✔ Disputed
     Philadelphia            PA     19101-7346
     __________________________________________  None of the above apply
     City                               State    ZIP Code
                                                                  Does the creditor have a lien on your property?

     __________________________________________
                                                                  
                                                                  ✔ No
     Contact                                                       Yes. Total claim (secured and unsecured):     $_____________________

     ____________________________________
                                                                          Value of security:                  - $_____________________
     Contact phone                                                        Unsecured claim                         $_____________________

 4 Capital One Bank USA, N.A.
   __________________________________________                                                      Credit Card Debt
                                                                  What is the nature of the claim? ____________________________             21,893.65
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     Attn: Bankruptcy Dept.
     __________________________________________                    Contingent
     Number            Street
                                                                   Unliquidated
     1680  Capital One Dr
     __________________________________________                    Disputed
     McLean                  VA     22102                         
                                                                  ✔ None of the above apply
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                          Value of security:                  - $_____________________
     ____________________________________                                 Unsecured claim                         $_____________________
     Contact phone


 5 __________________________________________
   JPMorgan Chase Bank NA                                                                          Credit Card Debt
                                                                  What is the nature of the claim? ____________________________             20,632.43
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     Bankruptcy Mail Intake Team
     __________________________________________
     Number            Street
                                                 Contingent
     700 Kansas Lane Floor 01
                                                 Unliquidated
     __________________________________________
                                                 Disputed
     Monroe                   LA 71203-4774 
     __________________________________________
                                                ✔ None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

 6 __________________________________________
   JPMorgan Chase Bank NA                                         What is the nature of the claim? ____________________________
                                                                                                   Credit Card Debt                        $____________________________
                                                                                                                                            14,648.23
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Bankruptcy Mail Intake Team
     Number            Street                    Contingent
                                                 Unliquidated
     __________________________________________
     700 Kansas Lane Floor 01
                                                 Disputed
                              LA 71203-4774  None of the above apply
                                                ✔
     Monroe
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

 7 Citibank                                                       What is the nature of the claim? Credit
                                                                                                   ____________________________
                                                                                                          Card Debt                         14,418.67
                                                                                                                                           $____________________________
     __________________________________________
     Creditor’s Name                                              As of the date you file, the claim is: Check all that apply.
     Citicorp Cr Srvs/Centralized Bankruptcy
     __________________________________________                    Contingent
     Number            Street
                                                                   Unliquidated
     P.O. Box 790040
     __________________________________________                    Disputed
                                                                  
                                                                  ✔ None of the above apply
     Saint Louis              MO 63179
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                          Value of security:                  - $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

                                                                                                                                                           29
Official Form 104                  For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 2
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Debtor 1          Ernest A Cozzi
                 _______________________________________________________                                     Case number (if known)_____________________________________
                 First Name      Middle Name          Last Name


                                                                                                                                              Unsecured claim

 8 __________________________________________
   Bank of America                                                What is the nature of the claim? Credit Card Debt
                                                                                                   ____________________________             13,165.68
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Attn: Bankruptcy Dept.
     Number            Street                    Contingent
                                                 Unliquidated
     __________________________________________
     P.O. Box 9000
                                                 Disputed
     Getzville                NY    14068-9000
     __________________________________________
                                                
                                                ✔ None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

 9 __________________________________________
   American Express                                                                                Credit Card Debt
                                                                  What is the nature of the claim? ____________________________             13,099.11
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Attn: Bankruptcy Dept.
     Number            Street                                      Contingent
                                                                   Unliquidated
     __________________________________________
     PO Box 981537                                                 Disputed
     El Paso                   TX 79998
     __________________________________________
                                                                  
                                                                  ✔ None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

10 __________________________________________
   American Express                                               What is the nature of the claim? Credit Card Debt
                                                                                                   ____________________________             12,134.28
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     Attn: Bankruptcy Dept.
     __________________________________________                    Contingent
     Number            Street
                                                                   Unliquidated
     PO Box 981537
     __________________________________________                    Disputed
     El Paso                 TX 79998                             
                                                                  ✔ None of the above apply
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                          Value of security:                  - $_____________________
     ____________________________________                                 Unsecured claim                         $_____________________
     Contact phone


11 __________________________________________
   Bank of America                                                What is the nature of the claim? Credit Card Debt
                                                                                                   ____________________________             11,522.78
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Attn: Bankruptcy Dept.
     Number            Street                    Contingent
     __________________________________________
                                                 Unliquidated
     P.O. Box 9000
                                                 Disputed
                              NY 14068-9000  None of the above apply
                                                ✔
     __________________________________________
     Getzville
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

12                                                                What is the nature of the claim? Credit
                                                                                                   ____________________________
                                                                                                          Card Debt                        $____________________________
                                                                                                                                            10,866.00
     Capital One Bank USA, N.A.
     __________________________________________
     Creditor’s Name                                              As of the date you file, the claim is: Check all that apply.
     Attn: Bankruptcy Dept.
     __________________________________________
                                                                   Contingent
     Number            Street                                      Unliquidated
     1680 Capital One Dr
     __________________________________________                    Disputed
                                                                  
                                                                  ✔ None of the above apply
     McLean                    VA 22102
     __________________________________________                   Does the creditor have a lien on your property?
     City                               State    ZIP Code
                                                                  
                                                                  ✔ No
                                                                   Yes. Total claim (secured and unsecured):     $_____________________
     __________________________________________
     Contact
                                                                          Value of security:                  - $_____________________
                                                                          Unsecured claim                         $_____________________
     ____________________________________
     Contact phone



                                                                                                                                                           30
Official Form 104                  For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 3
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Debtor 1          Ernest A Cozzi
                 _______________________________________________________                                     Case number (if known)_____________________________________
                 First Name      Middle Name          Last Name


                                                                                                                                            Unsecured claim

13 __________________________________________
   Citibank                                                       What is the nature of the claim? Credit Card Debt
                                                                                                   ____________________________
                                                                                                                                            9,966.79
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Citicorp Cr Srvs/Centralized Bankruptcy
     Number            Street                                      Contingent
                                                                   Unliquidated
     __________________________________________
     P.O. Box 790040
                                                                   Disputed
     Saint Louis              MO 63179
     __________________________________________
                                                                  
                                                                  ✔ None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

14 __________________________________________
   Pentagon Federal Credit Union                                  What is the nature of the claim? Credit Card Debt
                                                                                                   ____________________________
                                                                                                                                            8,920.38
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     P.O. Box 1432
     __________________________________________
                                                                   Contingent
     Number            Street
                                                                   Unliquidated
     __________________________________________
                                                                   Disputed
                              VA 22313
     __________________________________________
     Alexandria                                                   
                                                                  ✔ None of the above apply
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

15 __________________________________________
   Service Finance Company                                        What is the nature of the claim? Home  Improvement Loan
                                                                                                   ____________________________             8,673.00
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     555 S. Federal Hwy
     __________________________________________                    Contingent
     Number            Street
                                                                   Unliquidated
     Suite 20
     __________________________________________                    Disputed
                              FL 33432                            
                                                                  ✔ None of the above apply
     Boca  Raton
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                          Value of security:                  - $_____________________
     ____________________________________                                 Unsecured claim                         $_____________________
     Contact phone


16 __________________________________________
   JPMorgan Chase Bank NA                                         What is the nature of the claim? Credit Card Debt
                                                                                                   ____________________________
                                                                                                                                            5,104.41
                                                                                                                                           $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     Bankruptcy Mail Intake Team
     __________________________________________
                                                 Contingent
     Number            Street
                                                 Unliquidated
     __________________________________________
     700 Kansas Lane Floor 01
                                                 Disputed
                              LA 71203-4774  None of the above apply
                                                ✔
     Monroe
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                  
                                                                  ✔ No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                              - $_____________________
     Contact
                                                                          Value of security:
     ____________________________________
     Contact phone                                                        Unsecured claim                         $_____________________

17 Bank of America                                                What is the nature of the claim? Credit Card Debt
                                                                                                   ____________________________             3,597.54
                                                                                                                                           $____________________________
     __________________________________________
     Creditor’s Name                                              As of the date you file, the claim is: Check all that apply.
     Attn: Bankruptcy Dept.
     __________________________________________                    Contingent
     Number            Street
                                                                   Unliquidated
     P.O. Box 9000
     __________________________________________                    Disputed
                                                                  
                                                                  ✔ None of the above apply
     Getzville                NY 14068-9000 Does the creditor have a lien on your property?
     __________________________________________
     City                               State    ZIP Code
                                                                   No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                          Value of security:                  - $_____________________
     ____________________________________                                 Unsecured claim                         $_____________________
     Contact phone


                                                                                                                                                           31
Official Form 104                  For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 4
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Debtor 1          Ernest A Cozzi
                 _______________________________________________________                                     Case number (if known)_____________________________________
                 First Name      Middle Name          Last Name


                                                                                                                                           Unsecured claim

18                                                                What is the nature of the claim? ____________________________
                                                                                                                                           $____________________________
     __________________________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     __________________________________________                    Contingent
     Number            Street
                                                                   Unliquidated
     __________________________________________                    Disputed
                                                                   None of the above apply
     __________________________________________
     City                               State    ZIP Code         Does the creditor have a lien on your property?
                                                                   No
     __________________________________________                    Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                          Value of security:                  - $_____________________
     ____________________________________
     Contact phone
                                                                          Unsecured claim                         $_____________________



                                                                  What is the nature of the claim? ____________________________
19
     __________________________________________                                                                                            $____________________________
     Creditor’s Name
                                                                  As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                      Contingent
                                                                   Unliquidated
     __________________________________________
                                                                   Disputed
     __________________________________________
                                                                   None of the above apply
     City                               State    ZIP Code
                                                                  Does the creditor have a lien on your property?

     __________________________________________
                                                                   No
     Contact                                                       Yes. Total claim (secured and unsecured):     $_____________________

     ____________________________________
                                                                          Value of security:                  - $_____________________
     Contact phone                                                        Unsecured claim                         $_____________________



                                                                  What is the nature of the claim? ____________________________
20
                                                                                                                                           $____________________________

                                                                  As of the date you file, the claim is: Check all that apply.

     __________________________________________
                                                                   Contingent
     Creditor’s Name                                               Unliquidated
     __________________________________________
                                                                   Disputed
     Number            Street                                      None of the above apply
     __________________________________________
                                                                  Does the creditor have a lien on your property?
     __________________________________________                    No
     City                               State    ZIP Code
                                                                   Yes. Total claim (secured and unsecured):     $_____________________

     __________________________________________
                                                                          Value of security:                  - $_____________________
     Contact                                                              Unsecured claim                         $_____________________

     ____________________________________
     Contact phone




                                                                                                                                                           32
Official Form 104                  For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 5
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                  Case 24-02892                     Doc 1            Filed 02/29/24 Entered 02/29/24 11:17:04                                                   Desc Main
                                                                      Document     Page 14 of 55

 Fill in this information to identify your case:

 Debtor 1
                     Ernest A Cozzi
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2
                     Elle Marie Cozzi
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Illinois District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 604,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 278,611.50
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 882,611.50
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 408,042.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 268,461.42
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 213,100.58
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 889,604.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 9,817.36
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 7,308.46
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                 Case 24-02892                Doc 1        Filed 02/29/24 Entered 02/29/24 11:17:04                                   Desc Main
                  Ernest Cozzi & Elle Cozzi
                                                            Document     Page 15 of 55
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          9,817.36
                                                                                                                                          $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                   268,461.42
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                             268,461.42
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
                   Case 24-02892                        Doc 1       Filed 02/29/24 Entered 02/29/24 11:17:04                           Desc Main
                                                                     Document     Page 16 of 55

Fill in this information to identify your case and this filing:

                     Ernest A Cozzi
Debtor 1
                     First Name           Middle Name            Last Name

Debtor 2               Elle Marie Cozzi
(Spouse, if filing)    First Name           Middle Name            Last Name


United States Bankruptcy Court for the: Northern District of
Illinois
                                                                                                                                                       Check if this is
Case number                                                                                                                                            an amended
(if know)
                                                                                                                                                       filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                       What is the property? Check all that apply
                                                                                                                       Do not deduct secured claims or exemptions. Put the
    1.1 10460 Ridgewood Dr.                                              Single-family home                            amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                         Duplex or multi-unit building                 Creditors Who Have Claims Secured by Property:
                                                                         Condominium or cooperative                    Current value of the      Current value of the
                                                                         Manufactured or mobile home                   entire property?          portion you own?
            Palos Park IL           60464
                                                                         Land                                          $ 600,000.00              $ 600,000.00
            City            State   ZIP Code
                                                                         Investment property
                                                                                                                       Describe the nature of your ownership
                                                                         Timeshare                                     interest (such as fee simple, tenancy by the
            Cook County                                                  Other                                         entireties, or a life estate), if known.

            County                                                     Who has an interest in the property? Check      Joint tenant
                                                                       one
                                                                             Debtor 1 only                                Check if this is community property
                                                                             Debtor 2 only
                                                                             Debtor 1 and Debtor 2 only
                                                                             At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:

                                                                       What is the property? Check all that apply
                                                                                                                       Do not deduct secured claims or exemptions. Put the
    1.2 Disney Vacation Club Timeshare                                   Single-family home                            amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                         Duplex or multi-unit building                 Creditors Who Have Claims Secured by Property:
            1390 Celebration Blvd.
                                                                         Condominium or cooperative                    Current value of the      Current value of the
                                                                         Manufactured or mobile home                   entire property?          portion you own?
            Kissimmee FL            34747
                                                                         Land                                          $ 4,000.00                $ 4,000.00
            City            State   ZIP Code
                                                                         Investment property
                                                                                                                       Describe the nature of your ownership
                                                                         Timeshare                                     interest (such as fee simple, tenancy by the
                                                                         Other                                         entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check      Fee simple
                                                                       one
                                                                             Debtor 1 only                                Check if this is community property
                                                                             Debtor 2 only
                                                                             Debtor 1 and Debtor 2 only
                                                                             At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                page 1 of 6
                    Case 24-02892                           Doc 1              Filed 02/29/24 Entered 02/29/24 11:17:04 Desc Main
Debtor 1          Ernest A Cozzi & Elle Marie Cozzi
                 First Name          Middle Name         Last Name
                                                                                Document     Page 17 of 55      Case number(if known)



  2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
      you have attached for Part 1. Write that number here...........................................................................................................................................➤              $ 604,000.00


 Part 2:        Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
    3.1 Make:BMW                                                                  Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:540i xDrive Sedan                                                                                                                              amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2023
                                                                                       Debtor 2 only
           Approximate mileage: 13000.00                                                                                                                           Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Lease. See Schedule G.                                                                                                                               $ 0.00                                $ 0.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

    3.2 Make:BMW                                                                  Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:X3 xDrive301i                                                                                                                                  amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2024
                                                                                       Debtor 2 only
           Approximate mileage: 4500                                                                                                                               Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Lease. See Schedule G.                                                                                                                               $ 0.00                                $ 0.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                   $ 0.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
  6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                     claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

      TV, Couches, Kitchen Table, Dining Table, Bedroom Sets, Stove, Refrigerator, Chairs                                                                                                                $ 500.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

      TV (2), Cell Phones (2), Radio, Ipad                                                                                                                                                               $ 250.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...




                                                                                                                                                                                                                      page 2 of 6
                   Case 24-02892                               Doc 1                Filed 02/29/24 Entered 02/29/24 11:17:04 Desc Main
Debtor 1          Ernest A Cozzi & Elle Marie Cozzi
                First Name            Middle Name           Last Name
                                                                                     Document     Page 18 of 55      Case number(if known)



  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...

      Treadmill                                                                                                                                                                                      $ 50.00
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...

      Smith & Wesson M&9, Smith & Wesson M&P Shield 9mm                                                                                                                                              $ 200.00
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

      Ordinary Wearing Apparel                                                                                                                                                                       $ 300.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...

      4 Dogs                                                                                                                                                                                         $ 0.00
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤             $ 1,300.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 50.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Bank of America Acct. #3392 (Business Account)                                                                                   $ 16,529.00

        17.2. Checking account:                                     Bank of America Acct. #0900                                                                                                      $ 6,480.00

        17.3. Checking account:                                     Bank of America Acct. #0918                                                                                                      $ 480.12

        17.4. Checking account:                                     Bank of America Acct. #9155 (Tax Payments Account)                                                                               $ 7,418.38




                                                                                                                                                                                                                   page 3 of 6
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Debtor 1        Ernest A Cozzi & Elle Marie Cozzi
              First Name           Middle Name    Last Name
                                                                     Document     Page 19 of 55      Case number(if known)



  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
       Name of entity:                                                                                          % of ownership:
       Cozzi Clerical Partnership                                                                               100          %       $ 0.00
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
       Type of account                     Institution name
       IRA:                                Cetera Acct. #2840                                                                        $ 32,902.00
       IRA:                                Cetera Acct. #4934                                                                        $ 142,100.00
       IRA:                                American Equity Acct. #2840                                                               $ 32,902.00
       IRA:                                Cetera SEP Acct. #5709                                                                    $ 38,200.00
       Pension plan:                       Prudential Acct. #7499                                                                    $ Unknown
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

       Life & Health Licensed, Series 7 & 65 Securities                                                                               $ 0.00

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

                                                                                                                                                   page 4 of 6
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                First Name          Middle Name          Last Name
                                                                                Document     Page 20 of 55      Case number(if known)



  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                                                              Federal:                             $ 0.00
                                                                                                                                                              State:                               $ 0.00
                                                                                                                                                              Local:                               $ 0.00

  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
        Company name:                                                                                                             Beneficiary:                                                     Surrender or
                                                                                                                                                                                                   refund value:
        Prudential Term Life Ins. Acct. #0795                                                                                     Elle Cozzi (Debtor 2)                                            $ 0.00
        Banner Term Life Ins. Acct. #7240                                                                                         Ernest Cozi (Debtor 1)                                           $ 0.00
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤         $ 277,061.50


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  38. Accounts receivable or commissions you already earned
             No
             Yes. Describe...
  39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic
                  devices

             No
             Yes. Describe...


                                                                                                                                                                                                                   page 5 of 6
                     Case 24-02892                               Doc 1               Filed 02/29/24 Entered 02/29/24 11:17:04 Desc Main
Debtor 1            Ernest A Cozzi & Elle Marie Cozzi
                  First Name            Middle Name           Last Name
                                                                                      Document     Page 21 of 55      Case number(if known)



      File Cabinets (2), Computer, Printer, Scanner                                                                                                                                                   $ 250.00
  40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
               No
               Yes. Describe...
  41. Inventory
               No
               Yes. Describe...
  42. Interests in partnerships or joint ventures
               No
               Yes. Describe........
  43. Customer lists, mailing lists, or other compilations
               No
               Yes.Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
  44. Any business-related property you did not already list
               No
               Yes. Give specific information ...........

 45. Add the dollar value of the portion you own for all of your entries from Part 5, including any entries for pages
       you have attached for Part 5. Write that number here...........................................................................................................................................➤              $ 250.00


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                     $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                  $ 604,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 1,300.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 277,061.50
  59. Part 5: Total business-related property, line 45                                                                         $ 250.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 278,611.50                        Copy personal property total➤         +$
                                                                                                                                                                                                               278,611.50
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 882,611.50




                                                                                                                                                                                                                    page 6 of 6
                  Case 24-02892                 Doc 1          Filed 02/29/24 Entered 02/29/24 11:17:04                                    Desc Main
                                                                Document     Page 22 of 55
 Fill in this information to identify your case:

                     Ernest A Cozzi
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Illinois District of __________
                                                                                       (State)
 Case number
  (If known)
                     ___________________________________________                                                                                     Check if this is an
                                                                                                                                                         amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on           Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                   portion you own                         exemption you claim
        Debtor 1 Exemptions
                                                               Copy the value from                     Check only one box
                                                               Schedule A/B                            for each exemption
                 10460 Ridgewood Dr.                                                                                                  735 Ill. Comp. Stat. 5/12-901 735 Ill.
 Brief
 description:
                                                                       600,000.00
                                                                      $________________          
                                                                                                 ✔ $ ____________
                                                                                                     15,000.00                        Comp. Stat. 5/12-906 735 Ill. Comp.
                                                                                                                                      Stat. 5/12-902
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:      1.1
              Household Goods - TV, Couches, Kitchen Table,                                                                           735 Ill. Comp. Stat. 5/12-1001 (b)
 Brief        Dining Table, Bedroom Sets, Stove, Refrigerator,
 description: Chairs                                                  $________________
                                                                        500.00                   
                                                                                                 ✔ $ ____________
                                                                                                     250.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:          6
                 Electronics - TV (2), Cell Phones (2), Radio, Ipad                                                                   735 Ill. Comp. Stat. 5/12-1001 (b)
 Brief
 description:                                                         $________________
                                                                        250.00                   
                                                                                                 ✔ $ ____________
                                                                                                     125.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                              3
                                                                                                                                                               page 1 of __
                Case 24-02892 Doc 1 Filed 02/29/24 Entered 02/29/24 11:17:04 Desc Main
Debtor           Ernest A Cozzi                      Document
                _______________________________________________________
                                                                        Page 23 of Case
                                                                                    55 number (if known)_____________________________________
                First Name     Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                              Amount of the                        Specific laws that allow exemption
                                                                     Current value of the   exemption you claim
         on Schedule A/B that lists this property                    portion you own
                                                                    Copy the value from    Check only one box
                                                                     Schedule A/B           for each exemption
               Sports & Hobby Equipment - Treadmill                                                                               735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       50.00
                                                                      $________________        25.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:        9
             Firearms - Smith & Wesson M&9, Smith & Wesson M&P                                                                    735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
             Shield 9mm                                        $________________
                                                                200.00                      
                                                                                            ✔ $ ____________
                                                                                                100.00
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:         10
               Clothing - Ordinary Wearing Apparel                                                                                735 Ill. Comp. Stat. 5/12-1001 (a)
Brief
description:                                                          $________________
                                                                       300.00               
                                                                                            ✔ $ ____________
                                                                                                150.00
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         11
               Cash (Cash on Hand)                                                                                                735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:                                                          $________________
                                                                       50.00                
                                                                                            ✔ $ ____________
                                                                                                25.00
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         16
               Bank of America Acct. #0900 (Checking Account)                                                                     735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:                                                          $________________
                                                                       6,480.00                3,404.77
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         17.2
               Bank of America Acct. #0918 (Checking Account)                                                                     735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       480.12
                                                                      $________________        70.23
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:        17.3
               Prudential Acct. #7499                                                                                             735 ILCS 5/12-704
Brief
description:
                                                                       Unknown
                                                                      $________________        0.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         21
               Cetera Acct. #2840                                                                                                 735 ILCS 5/12-704
Brief
description:                                                          $________________
                                                                       32,902.00            
                                                                                            ✔ $ ____________
                                                                                                32,902.00
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:         21
               Cetera Acct. #4934                                                                                                 735 ILCS 5/12-704
Brief
description:
                                                                       142,100.00
                                                                      $________________      $ ____________
                                                                                            ✔   142,100.00
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:        21
               American Equity Acct. #2840                                                                                        735 ILCS 5/12-704
Brief
description:
                                                                       32,902.00
                                                                      $________________      $ ____________
                                                                                            ✔   32,902.00
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         21
               Cetera SEP Acct. #5709                                                                                             735 ILCS 5/12-704
Brief
description:                                                          $________________
                                                                       38,200.00            
                                                                                            ✔ $ ____________
                                                                                                38,200.00
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:           21

Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                  2
                                                                                                                                                   page ___ of __ 3
                  Case 24-02892                 Doc 1          Filed 02/29/24 Entered 02/29/24 11:17:04                                    Desc Main
                                                                Document     Page 24 of 55
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name               Last Name

 Debtor 2            Elle Marie Cozzi
                     ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Illinois District of __________
                                                                                       (State)
 Case number
  (If known)
                     ___________________________________________                                                                                     Check if this is an
                                                                                                                                                         amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on           Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                   portion you own                         exemption you claim
        Debtor 2 Exemptions
                                                               Copy the value from                     Check only one box
                                                               Schedule A/B                            for each exemption
                 10460 Ridgewood Dr.                                                                                                  735 Ill. Comp. Stat. 5/12-901 735 Ill.
 Brief
 description:
                                                                       600,000.00
                                                                      $________________          
                                                                                                 ✔ $ ____________
                                                                                                     15,000.00                        Comp. Stat. 5/12-906 735 Ill. Comp.
                                                                                                                                      Stat. 5/12-902
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:      1.1
              Household Goods - TV, Couches, Kitchen Table,                                                                           735 Ill. Comp. Stat. 5/12-1001 (b)
 Brief        Dining Table, Bedroom Sets, Stove, Refrigerator,
 description: Chairs                                                  $________________
                                                                        500.00                   
                                                                                                 ✔ $ ____________
                                                                                                     250.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:          6
                 Electronics - TV (2), Cell Phones (2), Radio, Ipad                                                                   735 Ill. Comp. Stat. 5/12-1001 (b)
 Brief
 description:                                                         $________________
                                                                        250.00                   
                                                                                                 ✔ $ ____________
                                                                                                     125.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                              3
                                                                                                                                                               page 1 of __
                Case 24-02892 Doc 1 Filed 02/29/24 Entered 02/29/24 11:17:04 Desc Main
Debtor           Elle Marie Cozzi                    Document
                _______________________________________________________
                                                                        Page 25 of Case
                                                                                    55 number (if known)_____________________________________
                First Name     Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                              Amount of the                       Specific laws that allow exemption
                                                                     Current value of the   exemption you claim
         on Schedule A/B that lists this property                    portion you own
                                                                    Copy the value from    Check only one box
                                                                     Schedule A/B           for each exemption
               Sports & Hobby Equipment - Treadmill                                                                              735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       50.00
                                                                      $________________        25.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        9
             Firearms - Smith & Wesson M&9, Smith & Wesson M&P                                                                   735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
             Shield 9mm                                        $________________
                                                                200.00                      
                                                                                            ✔ $ ____________
                                                                                                100.00
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:         10
               Clothing - Ordinary Wearing Apparel                                                                               735 Ill. Comp. Stat. 5/12-1001 (a)
Brief
description:                                                          $________________
                                                                       300.00               
                                                                                            ✔ $ ____________
                                                                                                150.00
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         11
               Cash (Cash on Hand)                                                                                               735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:                                                          $________________
                                                                       50.00                
                                                                                            ✔ $ ____________
                                                                                                25.00
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         16
               Bank of America Acct. #0900 (Checking Account)                                                                    735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:                                                          $________________
                                                                       6,480.00                3,404.77
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         17.2
               Bank of America Acct. #0918 (Checking Account)                                                                    735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       480.12
                                                                      $________________        70.23
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:           17.3

Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                 3
                                                                                                                                                  page ___ of __ 3
                     Case 24-02892                       Doc 1      Filed 02/29/24 Entered 02/29/24 11:17:04                                     Desc Main
                                                                     Document     Page 26 of 55
  Fill in this information to identify your case:

  Debtor 1           Ernest A Cozzi
                     First Name                              Last Name
                                           Middle Name

  Debtor 2            Elle Marie Cozzi
  (Spouse, if filing) First Name       Middle Name
                                                                    Last Name



  United States Bankruptcy Court for the: Northern District of Illinois

  Case number                                                                                                                                                  Check if this is
  (if know)                                                                                                                                                    an amended
                                                                                                                                                               filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:        List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A                       Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of                      Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not                       collateral that   portion If any
                                                                                                              deduct the value               supports this
                                                                                                              of collateral.                 claim
 2.1                                                             Describe the property that secures the claim: $ 408,042.00                  $ 600,000.00      $ 0.00


        NewRez LLC
                                                             10460 Ridgewood Dr., Palos Park, IL 60464 - $600,000.00
        Creditor’s Name
        1100 Virginia Dr., Suite 125
        Number                                               As of the date you file, the claim is: Check all
                     Street
        Ft. Washington PA               19034-3276           that apply.
        City                    State   ZIP Code                Contingent
        Who owes the debt? Check one.                           Unliquidated
          Debtor 1 only                                         Disputed
          Debtor 2 only
                                                             Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                An agreement you made (such as mortgage or
          At least one of the debtors and another               secured car loan)
                                                                Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                   Judgment lien from a lawsuit
                                                                Other (including a right to offset)
        Date debt was incurred 05/19/2023
                                                             Last 4 digits of account number 2568

       Add the dollar value of your entries in Column A on this page. Write that number here:                         $ 408,042.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

         NewRez LLC                                                                On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                           Last 4 digits of account number
         c/o Shellpoint Mortgage Servicing
         Number
                       Street
         P.O. Box 650840

         Dallas TX            75265-0840
         City       State     ZIP Code

Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 2
                 Ernest A Cozzi & Elle Marie Cozzi
Debtor               Case 24-02892
                First Name      Middle Name       Doc 1
                                              Last Name      Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                              Case number(if Desc
                                                                                                             known) Main

                                                              Document     Page 27 of 55
         City       State    ZIP Code




Official Form 106D                                        Schedule D: Creditors Who Have Claims Secured by Property        page 2 of 2
                   Case 24-02892                      Doc 1       Filed 02/29/24 Entered 02/29/24 11:17:04                                      Desc Main
                                                                   Document     Page 28 of 55
   Fill in this information to identify your case:

                   Ernest A Cozzi
   Debtor 1
                   First Name                                 Last Name
                                        Middle Name

   Debtor 2            Elle Marie Cozzi
   (Spouse, if filing) First Name       Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: Northern District of Illinois

   Case number                                                                                                                                              Check if this is
   (if know)                                                                                                                                                an amended
                                                                                                                                                            filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                  Total claim    Priority      Nonpriority
                                                                                                                                                 amount        amount
  2.1                                                                     Last 4 digits of account number 9240
         Illinois Department of Revenue                                                                                           $              $ 0.00        $
         Priority Creditor's Name
                                                                          When was the debt incurred? 2017-2021                   233,235.98                   233,235.98
         Bankruptcy Unit                                                  As of the date you file, the claim is: Check all
         Number
                       Street
                                                                          that apply.
         P.O. Box 19035                                                      Contingent
                                                                             Unliquidated
         Springfield IL          62794-9035                                  Disputed
         City            State   ZIP Code
         Who owes the debt? Check one.                                    Type of PRIORITY unsecured claim:
             Debtor 1 only                                                   Domestic support obligations
             Debtor 2 only                                                   Taxes and certain other debts you owe the
                                                                             government
             Debtor 1 and Debtor 2 only                                      Claims for death or personal injury while you were
             At least one of the debtors and another                         intoxicated
             Check if this claim relates to a community                     Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 8
                  Ernest A Cozzi & Elle Marie Cozzi
 Debtor               Case 24-02892
                 First Name            Middle Name       Doc 1
                                                     Last Name   Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                                  Case number(if Desc
                                                                                                                 known) Main

                                                                  Document     Page 29 of 55
  2.2                                                               Last 4 digits of account number 7499
          Internal Revenue Service                                                                                          $ 35,225.44   $ 0.00         $ 35,225.44
          Priority Creditor's Name
                                                                    When was the debt incurred? 2017, 2018

          Centralized Insolvency Opearation                         As of the date you file, the claim is: Check all
          Number
                        Street
                                                                    that apply.
          P.O. Box 7346                                                Contingent
                                                                       Unliquidated
          Philadelphia PA                19101-7346                    Disputed
          City                 State     ZIP Code
          Who owes the debt? Check one.                             Type of PRIORITY unsecured claim:
              Debtor 1 only                                            Domestic support obligations
              Debtor 2 only                                            Taxes and certain other debts you owe the
                                                                       government
              Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
              At least one of the debtors and another                  intoxicated
              Check if this claim relates to a community              Other. Specify
              debt
          Is the claim subject to offset?
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                               Last 4 digits of account number 1009
          American Express                                                                                                                                $ 13,099.11
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Attn: Bankruptcy Dept.                                    As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          PO Box 981537                                                Unliquidated
                                                                       Disputed
          El Paso TX             79998
                                                                    Type of NONPRIORITY unsecured claim:
          City         State     ZIP Code
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2 of 8
                  Ernest A Cozzi & Elle Marie Cozzi
 Debtor               Case 24-02892
                 First Name        Middle Name       Doc 1
                                                 Last Name   Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                              Case number(if Desc
                                                                                                             known) Main

                                                              Document     Page 30 of 55
  4.2                                                           Last 4 digits of account number 3003
          American Express                                                                                                        $ 12,134.28
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 06/05/202

          Attn: Bankruptcy Dept.                                As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          PO Box 981537                                            Unliquidated
                                                                   Disputed
          El Paso TX             79998
          City         State     ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                           Last 4 digits of account number 1249
          Bank of America                                                                                                         $ 11,522.78
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 04/11/2006

          Attn: Bankruptcy Dept.                                As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          P.O. Box 9000                                            Unliquidated
                                                                   Disputed
          Getzville NY           14068-9000
          City          State    ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                           Last 4 digits of account number 7216
          Bank of America                                                                                                          $ 3,597.54
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 08/31/2005

          Attn: Bankruptcy Dept.                                As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          P.O. Box 9000                                            Unliquidated
                                                                   Disputed
          Getzville NY           14068-9000
          City          State    ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                       page 3 of 8
                  Ernest A Cozzi & Elle Marie Cozzi
 Debtor               Case 24-02892
                 First Name        Middle Name       Doc 1
                                                 Last Name   Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                              Case number(if Desc
                                                                                                             known) Main

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  4.5                                                           Last 4 digits of account number 2574
          Bank of America                                                                                                         $ 13,165.68
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 09/18/2009

          Attn: Bankruptcy Dept.                                As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          P.O. Box 9000                                            Unliquidated
                                                                   Disputed
          Getzville NY           14068-9000
          City          State    ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.6                                                           Last 4 digits of account number 2637
          Capital One Bank USA, N.A.                                                                                              $ 21,893.65
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 06/04/2004

          Attn: Bankruptcy Dept.                                As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          1680 Capital One Dr                                      Unliquidated
                                                                   Disputed
          McLean VA              22102
          City         State     ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                           Last 4 digits of account number 0427
          Capital One Bank USA, N.A.                                                                                              $ 10,866.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 05/11/2006

          Attn: Bankruptcy Dept.                                As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          1680 Capital One Dr                                      Unliquidated
                                                                   Disputed
          McLean VA              22102
          City         State     ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                       page 4 of 8
                  Ernest A Cozzi & Elle Marie Cozzi
 Debtor               Case 24-02892
                 First Name           Middle Name       Doc 1
                                                    Last Name   Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                                 Case number(if Desc
                                                                                                                known) Main

                                                                 Document     Page 32 of 55
  4.8                                                              Last 4 digits of account number 4465
          Citibank                                                                                                                   $ 14,418.67
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 01/13/2004

          Citicorp Cr Srvs/Centralized Bankruptcy                  As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          P.O. Box 790040                                             Unliquidated
                                                                      Disputed
          Saint Louis MO               63179
          City                State    ZIP Code
                                                                   Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                              Last 4 digits of account number 6369
          Citibank                                                                                                                    $ 9,966.79
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 03/03/2007

          Citicorp Cr Srvs/Centralized Bankruptcy                  As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          P.O. Box 790040                                             Unliquidated
                                                                      Disputed
          Saint Louis MO               63179
          City                State    ZIP Code
                                                                   Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Citi Cards                                                  Last 4 digits of account number 3261
                                                                                                                                     $ 44,457.63
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 02/01/92

          Attn. Banruptcy Dept.                                    As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          PO Box 6077                                                 Unliquidated
                                                                      Disputed
          Sioux Falls SD              57117-6077
          City                State   ZIP Code
                                                                   Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                       page 5 of 8
                  Ernest A Cozzi & Elle Marie Cozzi
 Debtor               Case 24-02892
                 First Name        Middle Name       Doc 1
                                                 Last Name   Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                              Case number(if Desc
                                                                                                             known) Main

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  4.11 JPMorgan Chase Bank NA                                   Last 4 digits of account number 6236
                                                                                                                                   $ 5,104.41
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 04/08/2014

          Bankruptcy Mail Intake Team                           As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          700 Kansas Lane Floor 01                                 Unliquidated
                                                                   Disputed
          Monroe LA              71203-4774
          City        State      ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.12 JPMorgan Chase Bank NA                                   Last 4 digits of account number 9507
                                                                                                                                  $ 20,632.43
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 09/18/2007

          Bankruptcy Mail Intake Team                           As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          700 Kansas Lane Floor 01                                 Unliquidated
                                                                   Disputed
          Monroe LA              71203-4774
          City        State      ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.13 JPMorgan Chase Bank NA                                   Last 4 digits of account number 6826
                                                                                                                                  $ 14,648.23
          Nonpriority Creditor's Name
                                                                When was the debt incurred? 12/29/2009

          Bankruptcy Mail Intake Team                           As of the date you file, the claim is: Check all that apply.
          Number                                                   Contingent
                        Street
          700 Kansas Lane Floor 01                                 Unliquidated
                                                                   Disputed
          Monroe LA              71203-4774
          City        State      ZIP Code
                                                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                       page 6 of 8
                  Ernest A Cozzi & Elle Marie Cozzi
 Debtor               Case 24-02892
                 First Name            Middle Name       Doc 1
                                                     Last Name   Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                                  Case number(if Desc
                                                                                                                 known) Main

                                                                  Document     Page 34 of 55
  4.14 Pentagon Federal Credit Union                                Last 4 digits of account number 3703
                                                                                                                                                                    $ 8,920.38
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 12/26/2021

          P.O. Box 1432                                             As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Alexandria VA                22313                           Unliquidated
          City                State    ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.15 Service Finance Company                                      Last 4 digits of account number 6153
                                                                                                                                                                    $ 8,673.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 10/20/2022

          555 S. Federal Hwy                                        As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Suite 20                                                     Unliquidated
                                                                       Disputed
          Boca Raton FL                 33432
          City                 State    ZIP Code
                                                                    Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Home Improvement Loan
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        Linebarger Goggan Blair & Sampson, LLP                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 2.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        P.O. Box 805440
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                     Street
        Chicago IL               60680                                         Claims
        City         State       ZIP Code                                      Last 4 digits of account number 9184

   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 7 of 8
                Ernest A Cozzi & Elle Marie Cozzi
 Debtor             Case 24-02892
               First Name     Middle Name       Doc 1
                                            Last Name        Filed 02/29/24 Entered 02/29/24 11:17:04
                                                                                              Case number(if Desc
                                                                                                             known) Main

                                                              Document     Page 35 of 55

                                                                                                           Total claim

   Total claims        6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                             6b.   $ 268,461.42
                       government
                       6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                        $ 268,461.42



                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 213,100.58
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 213,100.58




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims             page 8 of 8
                     Case 24-02892               Doc 1    Filed 02/29/24 Entered 02/29/24 11:17:04                          Desc Main
                                                           Document     Page 36 of 55
  Fill in this information to identify your case:

  Debtor 1
                     Ernest A Cozzi
                      First Name                           Last Name
                                          Middle Name

  Debtor 2           Elle Marie Cozzi
  (Spouse, if filing) First Name      Middle Name
                                                                 Last Name



  United States Bankruptcy Court for the: Northern District of Illinois

  Case number                                                                                                                      Check if this is
  (if know)                                                                                                                        an amended
                                                                                                                                   filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                     State what the contract or lease is for

 2.1                                                                                  2024 BMW X3 xDrive301i
          BMW Financial Services
          Name
          Customer Service Center P.O. Box 3608
          Street
          Dublin OH            43016
          City       State     ZIP Code
 2.2                                                                                  2023 BMW 540i xDrive Sedan
          BMW Financial Services
          Name
          Customer Service Center P.O. Box 3608
          Street
          Dublin OH            43016
          City       State     ZIP Code




Official Form 106G                                       Schedule G: Executory Contracts and Unexpired Leases                                page 1 of 1
                     Case 24-02892          Doc 1    Filed 02/29/24 Entered 02/29/24 11:17:04                         Desc Main
                                                      Document     Page 37 of 55
Fill in this information to identify your case:

Debtor 1
                Ernest A Cozzi
                     First Name                     Last Name
                                  Middle Name

Debtor 2           Elle Marie Cozzi
(Spouse, if filing) First Name      Middle Name
                                                         Last Name



United States Bankruptcy Court for the: Northern District of Illinois

Case number                                                                                                                     Check if this is
(if know)                                                                                                                       an amended
                                                                                                                                filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                       Check all schedules that apply:




Official Form 106H                                               Schedule H: Your Codebtors                                              page 1 of 1
                  Case 24-02892              Doc 1          Filed 02/29/24 Entered 02/29/24 11:17:04                            Desc Main
                                                             Document     Page 38 of 55
 Fill in this information to identify your case:

                      Ernest A Cozzi
 Debtor 1           ____________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2
                      Elle Marie Cozzi
                     ____________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of Illinois District
                                                                                      tate)
 Case number         ___________________________________________                                          Check if this is:
  (If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
                                                                                                             income as of the following date:
                                                                                                             ________________
Official Form 106I                                                                                           MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                               Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                             ✔ Employed
    information about additional           Employment status                                                             Employed
    employers.                                                               Not employed                               
                                                                                                                         ✔ Not employed
    Include part-time, seasonal, or
    self-employed work.                                                     Financial Advisor
                                           Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                             Ernest Cozzi
                                           Employer’s name                __________________________________            __________________________________


                                           Employer’s address                1415 W. 22nd St. Tower #1
                                                                          _______________________________________     ________________________________________
                                                                           Number Street                               Number    Street

                                                                          _______________________________________     ________________________________________

                                                                         _______________________________________      ________________________________________

                                                                             Oak Brook, IL 60523
                                                                          _______________________________________     ________________________________________
                                                                           City            State  ZIP Code              City                State ZIP Code

                                           How long employed there?________________________                             ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                        non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.              2.            0.00                   0.00
                                                                                                    $___________          $____________

 3. Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                             0.00      + $____________
                                                                                                                                  0.00

 4. Calculate gross income. Add line 2 + line 3.                                              4.            0.00
                                                                                                    $__________                    0.00
                                                                                                                          $____________




Official Form 106I                                                    Schedule I: Your Income                                                    page 1
                 Case 24-02892
                 Ernest  A Cozzi & Elle Marie Cozzi
                                                      Doc 1           Filed 02/29/24 Entered 02/29/24 11:17:04 Desc Main
Debtor 1         _______________________________________________________Document    Page 39 of Case
                                                                                                55 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.          0.00
                                                                                                                        $___________                  0.00
                                                                                                                                              $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
                                                                                                                               0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                               8,199.62                    0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                    0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8g. Pension or retirement income                                                                            8g.       1,617.74
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.       9,817.36
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           9,817.36
                                                                                                                        $___________    +             0.00
                                                                                                                                              $_____________      = $_____________
                                                                                                                                                                       9,817.36

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       9,817.36
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
       Case 24-02892          Doc 1      Filed 02/29/24 Entered 02/29/24 11:17:04         Desc Main
                                          Document     Page 40 of 55


                                            United States Bankruptcy Court
                                              Illinois - Northern
In re: Ernest Cozzi & Elle Cozzi
                                                                          Case No.
                                                                          Chapter    11
     Debtor(s)




                                    BUSINESS INCOME AND EXPENSES

                 Gross Monthly Income                                16,660.00
                                                                    $__________
                 Business Expenses
                              Cost of goods sold                       __________
                              Advertising                              204.00
                                                                       __________
                              Car and truck expenses                   466.00
                                                                       __________
                             Fees                                      846.00
                                                                       __________
                             Depreciation                              __________
                             Employee benefits                         __________
                             Insurance                                 __________
                             Interest                                  __________
                             Legal and professional                    250.00
                                                                       __________
                             Office expense                            301.75
                                                                       __________
                             Pension and profit sharing                __________
                             Rent                                      1,387.08
                                                                       __________
                             Other leases                              955.55
                                                                       __________
                             Repairs                                   __________
                             Maintenance                               __________
                             Supplies                                  __________
                             Taxes and licenses                        3,750.00
                                                                       __________
                             Travel, meals, etc                        300.00
                                                                       __________
                             Utilities                                 __________
                             Other ___________________                 __________
                             ________________________
                             ________________________

                 Total Expenses                                      8,460.38
                                                                    $__________

                 Net Monthly Income                                  8,199.62
                                                                    $__________
                   Case 24-02892            Doc 1          Filed 02/29/24 Entered 02/29/24 11:17:04                                     Desc Main
                                                            Document     Page 41 of 55
  Fill in this information to identify your case:

                     Ernest A Cozzi
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
                      Elle Marie Cozzi
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Northern District of Illinois
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________        District of __________                   expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    No. Go to line 2.
   
   ✔ Yes. Does Debtor 2 live in a separate household?
               ✔ No
               
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 ✔ No
                                                                                         Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’
                                                                                                                                                  No
                                                                                          _________________________                ________
   names.                                                                                                                                         Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 2,622.07
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      860.10
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      267.91
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   100.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
                   Case 24-02892                Doc 1        Filed 02/29/24 Entered 02/29/24 11:17:04                     Desc Main
                                                              Document     Page 42 of 55
                    Ernest A Cozzi & Elle Marie Cozzi
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     310.40
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                     163.70
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     274.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     600.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      50.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      50.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     125.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                        0.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                      25.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                      50.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                     233.75
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                        0.00
                                        Health Savings Account
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                     350.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     665.75
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                     295.78


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
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                   Ernest A Cozzi
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Lawn Care
                                                                                                                                        265.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 7,308.46
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 7,308.46
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       9,817.36
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 7,308.46
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  2,508.90
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
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 Fill in this information to identify your case:

                    Ernest A Cozzi
 Debtor 1
                    First Name          Middle Name            Last Name

 Debtor 2            Elle Marie Cozzi
 (Spouse, if filing) First Name           Middle Name             Last Name



 United States Bankruptcy Court for the: Northern District of Illinois

 Case number
 (if know)                                                                                                                                                         Check if this is
                                                                                                                                                                   an amended
                                                                                                                                                                   filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                        4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:      Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                           Debtor 1                                                 Debtor 2

                                                                           Sources of income         Gross income                   Sources of income         Gross income
                                                                           Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                     exclusions)                                              exclusions)

         From January 1 of current year until the date                        Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                            bonuses, tips      $ 35,151.00                           bonuses, tips      $
                                                                              Operating a business                                     Operating a business


         For last calendar year:                                              Wages, commissions,                                      Wages, commissions,
                                                                              bonuses, tips      $ 190,000.00                          bonuses, tips      $
         (January 1 to December 31, 2023
                                                                              Operating a business                                     Operating a business


         For the calendar year before that:                                   Wages, commissions,                                      Wages, commissions,
                                                                              bonuses, tips      $ 131,619.00                          bonuses, tips      $
         (January 1 to December 31, 2022
                                                                              Operating a business                                     Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

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   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                        Debtor 1                                                                Debtor 2

                                        Sources of income                   Gross income from each              Sources of income                Gross income from each
                                        Describe below.                     source                              Describe below.                  source
                                                                            (before deductions and                                               (before deductions and
                                                                            exclusions)                                                          exclusions)
 From January 1 of current
 year until the date you                 Pension                             $ 3,235.48
 filed for bankruptcy:
 For last calendar year:
                                         Pension                             $ 19,412.88
 (January 1 to December 31,
  2023
 For the calendar year
 before that:

 (January 1 to December 31,
  2022


 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                            Dates of payment              Total amount paid             Amount you still owe   Was this payment
                                                                                                                                               for…

                                                                                                                                                  Mortgage
                      American Express                      01/27/2024                    $ 1,350.00                    $ 13,099.11               Car
                      Creditor’s Name                       12/27/2023                                                                            Credit card
                      Attn: Bankruptcy Dept.                11/27/2023                                                                            Loan repayment
                      Number                                                                                                                      Suppliers or
                                Street
                      PO Box 981537                                                                                                            vendors
                                                                                                                                                  Other

                      El Paso TX          79998
                      City      State     ZIP Code




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                                                                                                                                           Mortgage
                     Citibank                                01/17/2024                    $ 1,200.00                    $ 9,966.79        Car
                     Creditor’s Name                         12/17/2023                                                                    Credit card
                     Citicorp Cr Srvs/Centralized            11/17/2023                                                                    Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     Bankruptcy                                                                                                         vendors
                                                                                                                                           Other

                     P.O. Box 790040

                     Saint Louis MO            63179
                     City           State      ZIP Code

                                                                                                                                           Mortgage
                     NewRez LLC                              02/01/2024                    $ 7,866.21                    $ 408,042.00      Car
                     Creditor’s Name                         01/01/2024                                                                    Credit card
                     1100 Virginia Dr., Suite 125            12/01/2023                                                                    Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     Ft. Washington PA                                                                                                  vendors
                                                                                                                                           Other
                     City                   State
                     19034-3276
                     ZIP Code

                                                                                                                                           Mortgage
                     Bank of America                         01/09/2024                    $ 900.00                      $ 3,597.54        Car
                     Creditor’s Name                         12/09/2023                                                                    Credit card
                     Attn: Bankruptcy Dept.                  11/09/2023                                                                    Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     P.O. Box 9000                                                                                                      vendors
                                                                                                                                           Other

                     Getzville NY           14068-9000
                     City        State      ZIP Code

                                                                                                                                           Mortgage
                     Bank of America                         01/16/2024                    $ 1,380.00                    $ 13,165.68       Car
                     Creditor’s Name                         12/16/2023                                                                    Credit card
                     Attn: Bankruptcy Dept.                  11/16/2023                                                                    Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     P.O. Box 9000                                                                                                      vendors
                                                                                                                                           Other

                     Getzville NY           14068-9000
                     City        State      ZIP Code

                                                                                                                                           Mortgage
                     Pentagon Federal Credit                 01/08/2024                    $ 1,350.00                    $ 8,920.38        Car
                     Creditor’s Name                         12/7/2023                                                                     Credit card
                     Union                                   11/7/2023                                                                     Loan repayment
                                                                                                                                           Suppliers or
                     P.O. Box 1432                                                                                                      vendors
                                                                                                                                           Other
                     Number
                                Street
                     Alexandria VA            22313
                     City          State      ZIP Code

                                                                                                                                           Mortgage
                     Citi Cards                              01/14/2024                    $ 4,800.00                    $ 44,457.63       Car
                     Creditor’s Name                         12/14/2024                                                                    Credit card
                     Attn. Banruptcy Dept.                   11/14/2024                                                                    Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     PO Box 6077                                                                                                        vendors
                                                                                                                                           Other

                     Sioux Falls SD
                     City           State
                     57117-6077
                     ZIP Code




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                                                                                                                                           Mortgage
                     JPMorgan Chase Bank NA                   01/01/2024                    $ 1,100.00                    $ 5,104.41       Car
                     Creditor’s Name                          12/01/2024                                                                   Credit card
                     Bankruptcy Mail Intake Team              11/01/2024                                                                   Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     700 Kansas Lane Floor 01                                                                                           vendors
                                                                                                                                           Other

                     Monroe LA           71203-4774
                     City      State     ZIP Code

                                                                                                                                           Mortgage
                     Capital One Bank USA, N.A.               01/28/2024                    $ 903.00                      $ 10,866.00      Car
                     Creditor’s Name                          12/28/2024                                                                   Credit card
                     Attn: Bankruptcy Dept.                   11/28/2024                                                                   Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     1680 Capital One Dr                                                                                                vendors
                                                                                                                                           Other

                     McLean VA              22102
                     City       State       ZIP Code

                                                                                                                                           Mortgage
                     JPMorgan Chase Bank NA                   01/14/2024                    $ 1,590.00                    $ 20,632.43      Car
                     Creditor’s Name                          12/14/2023                                                                   Credit card
                     Bankruptcy Mail Intake Team              11/14/2023                                                                   Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     700 Kansas Lane Floor 01                                                                                           vendors
                                                                                                                                           Other

                     Monroe LA           71203-4774
                     City      State     ZIP Code

                                                                                                                                           Mortgage
                     Capital One Bank USA, N.A.               01/08/2024                    $ 1,944.00                    $ 21,893.65      Car
                     Creditor’s Name                          12/08/2024                                                                   Credit card
                     Attn: Bankruptcy Dept.                   11/08/2024                                                                   Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     1680 Capital One Dr                                                                                                vendors
                                                                                                                                           Other

                     McLean VA              22102
                     City       State       ZIP Code

                                                                                                                                           Mortgage
                     Citibank                                 01/09/2024                    $ 1,440.00                    $ 14,418.67      Car
                     Creditor’s Name                          12/09/2024                                                                   Credit card
                     Citicorp Cr Srvs/Centralized             11/09/2024                                                                   Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     Bankruptcy                                                                                                         vendors
                                                                                                                                           Other

                     P.O. Box 790040

                     Saint Louis MO            63179
                     City           State      ZIP Code

                                                                                                                                           Mortgage
                     Bank of America                          01/7/2024                     $ 1,200.00                    $ 11,522.78      Car
                     Creditor’s Name                          12/7/2024                                                                    Credit card
                     Attn: Bankruptcy Dept.                   11/7/2024                                                                    Loan repayment
                     Number                                                                                                                Suppliers or
                                Street
                     P.O. Box 9000                                                                                                      vendors
                                                                                                                                           Other

                     Getzville NY           14068-9000
                     City        State      ZIP Code




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                                                                                                                                             Mortgage
                       JPMorgan Chase Bank NA                   01/06/2024                    $ 1,200.00                    $ 14,648.23      Car
                       Creditor’s Name                          12/06/2023                                                                   Credit card
                       Bankruptcy Mail Intake Team              11/06/2023                                                                   Loan repayment
                       Number                                                                                                                Suppliers or
                                 Street
                       700 Kansas Lane Floor 01                                                                                           vendors
                                                                                                                                             Other

                       Monroe LA          71203-4774
                       City      State    ZIP Code

                                                                                                                                             Mortgage
                       Synchrony                                                              $ 683.00                      $ 0.00           Car
                       Creditor’s Name                                                                                                       Credit card
                       Financial/Amazon                                                                                                      Loan repayment
                                                                                                                                             Suppliers or
                       Attn: Bankruptcy                                                                                                   vendors
                                                                                                                                             Other
                       Number
                                 Street
                       P.O. Box 965015

                       Orlando FL             32896
                       City      State        ZIP Code


7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

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14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.
          Describe the property you lost and how                   Describe any insurance coverage for the loss                     Date of your loss Value of
          the loss occurred                                                                                                                           property lost
                                                                   Include the amount that insurance has paid. List pending
                                                                   insurance claims on line 33 of Schedule A/B: Property.
         Gambling Loss                                            No                                                                 03/23/2023        $ 109,000.00




 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                   Description and value of any property transferred                Date payment or Amount of
                                                                                                                                    transfer was    payment
                                                                                                                                    made
                                                                  Bankruptcy Petition Attorney's Fee                                  08/2023        $ 2,500.00
          David R. Herzog                                                                                                                            $
          Person Who Was Paid
          Law Office of David R. Herzog
          Number
                         Street
          53 W. Jackson Blvd., #1442

          Chicago IL              60604
          City          State     ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You

                                                                   Description and value of any property transferred                Date payment or Amount of
                                                                                                                                    transfer was    payment
                                                                                                                                    made
                                                                  Fee for negotiating tax liabilities with IRS and IDOR.              08/2023        $ 2,500.00
          David R. Herzog                                                                                                                            $
          Person Who Was Paid
          Law Office of David R. Herzog
          Number
                         Street
          53 W. Jackson Blvd., #1442

          Chicago IL              60604
          City          State     ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.


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18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:       List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:       Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:       Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.




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 Part 11:         Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                        Describe the nature of the business                           Employer Identification number
         Ernest Cozzi                                                                                                                 Do not include Social Security number or
         Business Name
                                                                       Financial Planning                                             ITIN.
         1415 W. 22nd St. Tower #1
                                                                                                                                      EIN:       –
         Number                                                          Name of accountant or bookkeeper
                       Street                                                                                                         Dates business existed
         Oak Brook IL                60523                             Alan Culter
         City                State   ZIP Code                                                                                         From 02/01/1982 To Current

                                                                        Describe the nature of the business                           Employer Identification number
         Cozzi Clerical Partnership                                                                                                   Do not include Social Security number or
         Business Name
                                                                       Used for Health Insurance                                      ITIN.
         10460 Ridgewood Dr.
                                                                                                                                      EIN: 8   4   –2   0   1   0   9   8   7
         Number                                                          Name of accountant or bookkeeper
                       Street                                                                                                         Dates business existed
         Palos Park IL               60464
         City                State   ZIP Code                                                                                         From 01/14/2019 To Current


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




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American Express                                           Service Finance Company
Attn: Bankruptcy Dept.                                     555 S. Federal Hwy
PO Box 981537                                              Suite 20
El Paso, TX 79998                                          Boca Raton, FL 33432

Bank of America
Attn: Bankruptcy Dept.
P.O. Box 9000
Getzville, NY 14068-9000

BMW Financial Services
Customer Service Center
P.O. Box 3608
Dublin, OH 43016

Capital One Bank USA, N.A.
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